Case 2:24-cv-14292-AMC Document 1 Entered on FLSD Docket 09/06/2024 Page 1 of 48




                                                      2:24-cv-14292 Cannon/Maynard
Case 2:24-cv-14292-AMC Document 1 Entered on FLSD Docket 09/06/2024 Page 2 of 48
Case 2:24-cv-14292-AMC Document 1 Entered on FLSD Docket 09/06/2024 Page 3 of 48
Case 2:24-cv-14292-AMC Document 1 Entered on FLSD Docket 09/06/2024 Page 4 of 48
Case 2:24-cv-14292-AMC Document 1 Entered on FLSD Docket 09/06/2024 Page 5 of 48
Case 2:24-cv-14292-AMC Document 1 Entered on FLSD Docket 09/06/2024 Page 6 of 48
Case 2:24-cv-14292-AMC Document 1 Entered on FLSD Docket 09/06/2024 Page 7 of 48
Case 2:24-cv-14292-AMC Document 1 Entered on FLSD Docket 09/06/2024 Page 8 of 48
Case 2:24-cv-14292-AMC Document 1 Entered on FLSD Docket 09/06/2024 Page 9 of 48
Case 2:24-cv-14292-AMC Document 1 Entered on FLSD Docket 09/06/2024 Page 10 of 48
Case 2:24-cv-14292-AMC Document 1 Entered on FLSD Docket 09/06/2024 Page 11 of 48
Case 2:24-cv-14292-AMC Document 1 Entered on FLSD Docket 09/06/2024 Page 12 of 48
Case 2:24-cv-14292-AMC Document 1 Entered on FLSD Docket 09/06/2024 Page 13 of 48
Case 2:24-cv-14292-AMC Document 1 Entered on FLSD Docket 09/06/2024 Page 14 of 48
Case 2:24-cv-14292-AMC Document 1 Entered on FLSD Docket 09/06/2024 Page 15 of 48
Case 2:24-cv-14292-AMC Document 1 Entered on FLSD Docket 09/06/2024 Page 16 of 48
Case 2:24-cv-14292-AMC Document 1 Entered on FLSD Docket 09/06/2024 Page 17 of 48
Case 2:24-cv-14292-AMC Document 1 Entered on FLSD Docket 09/06/2024 Page 18 of 48
Case 2:24-cv-14292-AMC Document 1 Entered on FLSD Docket 09/06/2024 Page 19 of 48
Case 2:24-cv-14292-AMC Document 1 Entered on FLSD Docket 09/06/2024 Page 20 of 48
Case 2:24-cv-14292-AMC Document 1 Entered on FLSD Docket 09/06/2024 Page 21 of 48
Case 2:24-cv-14292-AMC Document 1 Entered on FLSD Docket 09/06/2024 Page 22 of 48
Case 2:24-cv-14292-AMC Document 1 Entered on FLSD Docket 09/06/2024 Page 23 of 48
Case 2:24-cv-14292-AMC Document 1 Entered on FLSD Docket 09/06/2024 Page 24 of 48
Case 2:24-cv-14292-AMC Document 1 Entered on FLSD Docket 09/06/2024 Page 25 of 48
Case 2:24-cv-14292-AMC Document 1 Entered on FLSD Docket 09/06/2024 Page 26 of 48
Case 2:24-cv-14292-AMC Document 1 Entered on FLSD Docket 09/06/2024 Page 27 of 48
Case 2:24-cv-14292-AMC Document 1 Entered on FLSD Docket 09/06/2024 Page 28 of 48
Case 2:24-cv-14292-AMC Document 1 Entered on FLSD Docket 09/06/2024 Page 29 of 48
Case 2:24-cv-14292-AMC Document 1 Entered on FLSD Docket 09/06/2024 Page 30 of 48
Case 2:24-cv-14292-AMC Document 1 Entered on FLSD Docket 09/06/2024 Page 31 of 48
Case 2:24-cv-14292-AMC Document 1 Entered on FLSD Docket 09/06/2024 Page 32 of 48
Case 2:24-cv-14292-AMC Document 1 Entered on FLSD Docket 09/06/2024 Page 33 of 48
Case 2:24-cv-14292-AMC Document 1 Entered on FLSD Docket 09/06/2024 Page 34 of 48
Case 2:24-cv-14292-AMC Document 1 Entered on FLSD Docket 09/06/2024 Page 35 of 48
Case 2:24-cv-14292-AMC Document 1 Entered on FLSD Docket 09/06/2024 Page 36 of 48
Case 2:24-cv-14292-AMC Document 1 Entered on FLSD Docket 09/06/2024 Page 37 of 48
Case 2:24-cv-14292-AMC Document 1 Entered on FLSD Docket 09/06/2024 Page 38 of 48
Case 2:24-cv-14292-AMC Document 1 Entered on FLSD Docket 09/06/2024 Page 39 of 48
Case 2:24-cv-14292-AMC Document 1 Entered on FLSD Docket 09/06/2024 Page 40 of 48
Case 2:24-cv-14292-AMC Document 1 Entered on FLSD Docket 09/06/2024 Page 41 of 48
Case 2:24-cv-14292-AMC Document 1 Entered on FLSD Docket 09/06/2024 Page 42 of 48
Case 2:24-cv-14292-AMC Document 1 Entered on FLSD Docket 09/06/2024 Page 43 of 48
Case 2:24-cv-14292-AMC Document 1 Entered on FLSD Docket 09/06/2024 Page 44 of 48
Case 2:24-cv-14292-AMC Document 1 Entered on FLSD Docket 09/06/2024 Page 45 of 48
Case 2:24-cv-14292-AMC Document 1 Entered on FLSD Docket 09/06/2024 Page 46 of 48
Case 2:24-cv-14292-AMC Document 1 Entered on FLSD Docket 09/06/2024 Page 47 of 48
Case 2:24-cv-14292-AMC Document 1 Entered on FLSD Docket 09/06/2024 Page 48 of 48
